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-oz,,(o6o9)o-a--R-g--di-gM--i
                            --f--s-------R-d---i
                                               --p-,-------Isu.s.c.ja5sz(-)(z)
                                                                                                                  . .        .       r
                                    U NITED STATESD ISTRICT C OURT                                         ATMN
                                                                                                              Flu
                                                                                                                Vs
                                                                                                                 ILnLE,VA
'
                                                             forthe                                        FEB - 6 2212
                                                 W estern DistrictofVirginia                         Jut,j , uo         #c
                                                                                                   BY:
                  United StatesofAmerica                       )                                            E      L
                             v.                                )
                 ANTHONY W ENDELLBRIM                          ) CaseNo:4:06CR00009-004
                                                               ) USM No:19236-057
    DateofPreviousJudgment:              01/31/2007            )
    (UseDateoflmstAmendedludgmentIfzqpplicable)                ) Defendant'sAtt
                                                                              orney
                   OrderRegardingM otion forSentenceReductionPursuantto 18U.S.C.j3582($42)
           Uponmotionof17
                        --1thedefendantF-ItheDirectoroftheBureauofPrisonsF'
                                                                          -Ithecourtunder18U.S.C.
    j3582(c)(2)forareductionintheterm ofimprisonmentimposedbasedonaguidelinesentencingrangethathas
subsequently been lowered and m aderetroactivebytheUnited StatesSentencing Com mission pursuantto 28U.S.C.
j994(u),andhavingconsideredsuchmotion,andtaking intoaccountthesentencing factorssetforthin 18U.S.C.j
3553(*,totheextentthattheyareapplicable,
IT IS ORDERED thatthe motion is:
           U-
           Z IDENIED. FRGRANTED andthedefendant'spreviouslyimposedsentenceofimprisonment(asrejlectedin
                          theIastjudgmentissuea)of                             monthsisreduced to                                .
1.COURT DETERM INATION OF GUIDELINE M NGE (PriortoAnyDepartures)
PreviousOffenseLevel:                    Amended OffenseLevel:
CriminalHistory Category:       -        Crim inalHistory Category:
PreviousGuidelineRange:   to    -months  Amended Guideline Range:                                            to         months
lI. SENTENCE RELATIVE TO AM ENDED GUIDELINE M NGE
1-1Thereducedsentenceiswithintheamendedguidelinerange.
I--IThepreviousterm ofimprisonmentimposedwaslessthantheguidelinerangeapplicabletothedefendantatthetime
      ofsentencing asaresultofa departureorRule35reduction,and the reduced sentenceiscomparably lessthan the
      amended guidelinerange.
I
--IOther(explain):



111. ADDITIONAL COM M ENTS
     Defendant'soffense Ieveland resulting custody range were produced by applicati
                                                                                  on ofthe careeroffender
    guideline,which is unaffected byAmendment750. Moreover,al     though Defendant's effortsatrehabili
                                                                                                     tation while
        incarceratedarecommendable (seeDef.'sMot.forReduction(ECF No.2091),theyarenotgroundsfora reduction
        underAm endment750.

Exceptasprovidedabove,a1lprovisionsofthejudgmentdated                              shallremain in effect.
IT IS SO O R D ER ED .
                                                                                                                         *
OrderDate:               02/06/2012                                                                 *
                                                                                      Judge'
                                                                                           ssignature

Effective Date:                                                            SeniorUnited States DistrictJudge
                   (fdl
                      ftèrentfrom orderdate)                                        Printednameand title
